Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc
Main Document Page 1 of 36

Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & FOR COURT USE ONLY
Email Address

Wesley H. Avery

Chapter 7 Trustee

758 E. Colorado Bivd. # 210
Pasadena CA 91101
wes@averytrustee.com
Telephone No. (626) 395-7576
FAX No. (661) 430-5467
Fiducia in faciem dubitationem

CJ Attomey for:

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re: CASE NO.: 2:19-14693-BR
Got News, LLC, a suspended California limited liability CHAPTER: 7
company,

NOTICE OF OBJECTION TO CLAIM

DATE: 01/10/2023

TIME: 10:00 am

COURTROOM: 1668

PLACE: US Bankruptcy Court, 255 E. Temple Street

Los Angeles CA 90012

Debtor(s).

1. TO (specify claimant and claimant's counsel, if any): Joel Vangheluwe, an individual

2. NOTICE IS HEREBY GIVEN that the undersigned has filed an objection to your Proof of Claim (Claim #4 ) filed
in the above referenced case. The Objection to Claim seeks to alter your rights by disallowing, reducing or modifying the
claim based upon the grounds set forth in the objection, a copy of which is attached hereto and served herewith.

3. Deadline for Opposition Papers: You must file and serve a response to the Objection to Claim not later than 14
days prior to the hearing date set forth above.

IF YOU FAIL TO TIMELY RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE
RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER NOTICE OR HEARING.

Date: 12/11/2022 _ Law Offices of Wesley H. Avery, APC
Printed name of law firm

Signature
Date Notice Mailed: _12/11/2022 Wesley H. Avery, Esq.
Printed name of attorney for objector

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012 Page 1 F 3007-1.1 .NOTICE.OBJ.CLAIM

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In re

GOT NEWS, LLC, a suspended California
limited liability company,

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Main Document Page 2 of 36

Wesley H. Avery

Chapter 7 Trustee

758 E. Colorado Blvd. #210
Pasadena CA 91101
wes@averytrustee.com
Telephone No. (626) 395-7576
FAX No. (661) 430-5467

Fiducia in faciem dubitationem

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

Case No. 2:19-bk-14693-BR
Chapter 7

MOTION FOR ORDER SUSTAINING
THE TRUSTEE'S OBJECTION TO
Debtor. PROOF OF CLAIM # 4 FOR LACKING
SUFFICIENT EVIDENTIARY
DOCUMENTATION; REQUEST FOR

TID # XX-XXXXXXX JUDICIAL NOTICE; MEMORANDUM

OF POINTS AND AUTHORITIES;
DECLARATION IN SUPPORT THEREOF
[Fed. R. Bank. P. 3007]

Date: January 10, 2023
Time: 10:00 a.m.
Place: U.S. Courthouse

Courtroom 1668
255 E, Temple St.
Los Angeles. CA 90012

TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE
AND CLAIMANT JOEL VANGHELUWE, AN INDIVIDUAL:

Comes now Wesley H. Avery, the duly appointed and acting chapter 7 trustee (the

“Trustee”) of the bankruptcy estate (the “Estate’”) of the above-captioned debtor Got News LLC, a
suspended California limited liability company (the “Debtor’’), in Case No. 2:19-bk-14693-BR (the
“Bankruptcy Case”), who hereby moves (the “Motion”) for the issuance of an order of the Court
which sustains the Trustee's objection to the following claim which lacks sufficient evidentiary

documentation: that proof of claim designed by the Clerk of the Court as Claim #4 filed on

C:\Users\Client\Desktop\WHA-T7\Got News\Got News Pleadings\3007 Motion.docx

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Main Document Page 3 of 36

08/12/2019 by Joel Vangheluwe, an individual (the “Claimant” or “Son”) in the non-priority
unsecured amount of $800,000.00 (“Claim # 4”), a true and correct copy of which is attached hereto
and incorporated herein as Exhibit 4. As discussed infra, the Trustee requests that Claim # 4 be
allowed in the non-priority unsecured amount of $19,990 which is the same amount and priority as
the offer of judgment by the Debtor that was accepted by the Claimant’s father Mr. Jerome
Vangheluwe (the “Father’”). See Proof of Claim #3 (“Claim # 3”) filed by the Father on August 12,
2019, a true and correct copy of which is attached hereto and incorporated herein as Exhibit 3. The
Trustee attempted to settle the instant contested matter with the Claimant’s counsel but was
unsuccessful. See Declaration of the Trustee, attached hereto and incorporated herein, at { 2.

The Debtor filed a voluntary chapter 7 petition on April 24, 2019. The managing member
of the Debtor is Mr. Charles Johnson (“Johnson”). Claim # 4 was scheduled by the Debtor in the
non-priority unsecured amount of “unknown” and is listed as contingent, unliquidated and disputed.
See Schedule F filed on May 8, 2019, a true and correct copy of which is attached hereto and
incorporated herein as Exhibit 1.

Claim # 4 is based on a second amended complaint (the “Second Amended Complaint") that

was filed on May 24, 2019 in that action styled Vangheluwe et al v. Got News, LLC, Charles

Johnson et al, Case No. 2:18-cv-10542-LJM-EAS (E.D. Mich. 2018) (the “Defamation Lawsuit”)
that was never adjudicated by the District Court; the Defamation Lawsuit has now been closed. See
docket for the Defamation Lawsuit, a true and correct copy of which is attached hereto and
incorporated herein as Exhibit 2, See also Request for Judicial Notice, attached hereto and
incorporated herein. A true and correct copy of the Second Amended Complaint may be found at
Exhibit 4 hereto.!

The co-plaintiffs in the Defamation Lawsuit were the Claimant and his Father. As noted
supra, in the Defamation Lawsuit the Father settled with the Debtor for $19,990.00. See Exhibit 3

hereto. The Claimant has also settled with Johnson in the Defamation Lawsuit for $4,990. See

’ An opinion from the Defamation Lawsuit that was published at 365 F. Supp. 3d 836 (E.D. Mich.
2019) is attached hereto as Exhibit 6 and is useful for background on the dispute between the Debtor
and the Claimant.

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Main Document Page 4 of 36

Claimant’s Notice of Acceptance of Offer of Judgment filed in the Defamation Lawsuit on May 30,
2018, a true and correct copy of which is attached hereto and incorporated herein as Exhibit 5.

All assets of the Estate have been fully administered, and there is approximately $30,000 on
hand in the Estate (the “Funds on Hand”). Administrative claims are estimate at $11,875.15.
Priority tax claims filed by the California Franchise Tax Board against the Estate total $6,184.26.
All other non-priority unsecured claims (other than Claim # 4) total $127,660.78 in comparison to
$800,000 for Claim # 4. Assuming the administrative and priority claims are allowed by the Court
as asserted, if the Motion is granted then non-priority unsecured claims will receive a dividend of
approximately 8.1¢ on the dollar, and if the Motion is denied granted then non-priority unsecured
claims will receive a dividend of approximately 1.3¢ on the dollar.

The Motion is based on the attached Notice of the Motion, the attached Request for Judicial
Notice, the attached Declaration of the Trustee, and the attached exhibits. The Motion is brought
pursuant to Fed. R. Bankr. P. 3007.

WHEREFORE, the Trustee respectfully requests that his objection to Claim # 4 be

sustained, that the Motion be granted, and that Claim #4 be allowed as a non-priority unsecured
claim in the amount of $19,990.
Date: December 11, 2022 Se eter be

Wesley H. Avery

Chapter 7 Trustee Yo

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REQUEST FOR JUDICIAL NOTICE

Pursuant to Fed. R. Evid. 201, the Trustee asks that the Court take judicial notice of the facts
that: (i) that all of the exhibits attached hereto are true and correct copies of the respective documents

that were downloaded from PACER and (ii) that action styled Vangheluwe et al v. Got News, LLC,

Charles Johnson et al, Case No. 2:18-cv-10542-LJM-EAS (E.D. Mich. 2018) has been closed.

Wesley H/Avery <>

Chapter 7 Trustee

Date: December 11, 2022

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MEMORANDUM OF POINTS AND AUTHORITIES

A properly-filed proof of claim is prima facie evidence of the validity and amount of the
claim or interest. See FRBP 3001(f). While a claim lacking supporting documentation is not
automatically invalidated, the creditor may be prevented from relying on the proof of claim as prima
facie evidence of the claim's validity and amount. See FRBP 3001(c)(1); In re Garner, 246 BR 617,
620 (9th Cir. Bankr. 2000). Where the objecting party presents sufficient evidence to rebut the
presumption of validity created by the filing of a proof of claim, the presumption disappears, and

the creditor has the burden of proving its claim. See In re Southern Calif. Plastics, Inc., 165 F.3d

1243, 1248 (9th Cir. 1999); In re Palmdale Hills Property, LLC, 423 BR 655, 665 (9th Cir. BAP
2009) aff'd 654 F3d 868 (9th Cir. 2011). A claim lacking sufficient evidentiary documentation will
not survive objection absent an adequate response by the creditor who bears the burden of proving
the claim's validity by a preponderance of the evidence. See In re Plourde, 418 BR 495, 504-510
(1st Cir. Bankr. 2009) (creditors’ refusal to provide evidence establishing their claims of priority
thereof resulted in claims being relegated to lower priority).

Claim # 4 lacks sufficient documentation to liquidate and justify its $800,000 face amount.
See Exhibit 4 passim. As such, the Trustee’s objection to Claim # 4 should be sustained and the

Motion granted.

Date: December 11, 2022 Jf.
Wesley H. Avery <S
Chapter 7 Trustee

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Main Document Page 7 of 36

DECLARATION

I, Wesley H. Avery, declare:

1. I am the duly appointed and acting chapter 7 trustee of Got News LLC, a suspended
California limited liability company (the “Debtor’), in Case No. 2:19-bk-14693-BR (the
“Bankruptcy Case”). I am certified as a specialist in bankruptcy law by the State Bar of California,
and by the American Board of Certification is recognized by the American Bar Association and by
the American Bankruptcy Institute. I have personal knowledge of the facts set forth below, and, if
called as a witness, could competently testify thereto under oath. This declaration is made in support
of the attached motion (the “Motion") for the issuance of an order of the Court which sustains the
Trustee's objection to the following claim which lacks sufficient evidentiary documentation: that
proof of claim designed by the Clerk of the Court as Claim #4 filed on 08/12/2019 by Joel
Vangheluwe, an individual (the “Claimant” or “Son”) in the non-priority unsecured amount of
$800,000.00 (“Claim # 4”), a true and correct copy of which is attached hereto and incorporated
herein as Exhibit 4. I have reviewed all exhibits attached hereto and personally downloaded same
from PACER.

2. As discussed in the Motion, I request that Claim # 4 be allowed in the non-priority
unsecured amount of $19,990 which is the same amount and priority as the offer of judgment by the
Debtor that was accepted by the Claimant’s father Mr. Jerome Vangheluwe (the “Father”). See
Proof of Claim # 3 (“Claim # 3”) filed by the Father on August 12, 2019, a true and correct copy of
which is attached hereto and incorporated herein as Exhibit 3. I attempted to settle the instant
contested matter with the Claimant’s counsel but was unsuccessful.

3. The Debtor filed a voluntary chapter 7 petition on April 24, 2019. The managing
member of the Debtor is Mr. Charles Johnson (“Johnson”). Claim # 4 was scheduled by the Debtor
in the non-priority unsecured amount of “unknown” and is listed as contingent, unliquidated and
disputed. See Schedule F filed on May 8, 2019, a true and correct copy of which is attached hereto
and incorporated herein as Exhibit 1.

4, Claim # 4 is based on a second amended complaint (the “Second Amended

Complaint") that was filed on May 24, 2019 in that action styled Vangheluwe et al v. Got News,

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LLC, Charles Johnson et al, Case No. 2:18-cv-10542-LJM-EAS (E.D. Mich. 2018) (the

“Defamation Lawsuit”) that was never adjudicated by the District Court; the Defamation Lawsuit
has now been closed. See docket for the Defamation Lawsuit, a true and correct copy of which is
attached hereto and incorporated herein as Exhibit 2, A true and correct copy of the Second
Amended Complaint may be found at Exhibit 4 hereto.

5. The co-plaintiffs in the Defamation Lawsuit were the Claimant and his Father. As
noted supra, in the Defamation Lawsuit the Father settled with the Debtor for $19,990.00. See
Exhibit 3 hereto. The Claimant has also settled with Johnson in the Defamation Lawsuit for $4,990.
See Claimant’s Notice of Acceptance of Offer of Judgment filed in the Defamation Lawsuit on May
30, 2018, a true and correct copy of which is attached hereto and incorporated herein as Exhibit 5.

6. All assets of the Estate have been fully administered, and there is approximately
$30,000 on hand in the Estate (the “Funds on Hand”), Administrative claims are estimate at
$11,875.15. Priority tax claims filed by the California Franchise Tax Board against the Estate total
$6,184.26. All other non-priority unsecured claims (other than Claim # 4) total $127,660.78 in
comparison to $800,000 for Claim #4. Assuming the administrative and priority claims are allowed
by the Court as asserted, if the Motion is granted then non-priority unsecured claims will receive a
dividend of approximately 8.1¢ on the dollar, and if the Motion is denied granted then non-priority
unsecured claims will receive a dividend of approximately 1.3¢ on the dollar.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed this df day of December 2022, at Pasadena, California.

CezLy ME

“ Wesley H. Avery

Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc
Main Document Page 9 of 36

Exhibit 1
CER ESL PEE OPE Bbc oneal os FRG MAES os REL PI 82.88: 2B<kE A258 Desc

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; Debtor name Got News, LLC

|
Uniled States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA-L.A. |
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Case number {ifknown) 2:19-bk-14693-BR

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amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42/45

Bo as complete and accurate 2s possible. Use Part 1 for creditore with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims,
List the other party to any executory centracts of unexpired foases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 205A/8) and on Schedule G; Executory Contracts and Unexpired Leases (Officlal Form 206G). Number the entries in Parts 1 and
2 in the boxes on tie Jeft If more space is needed for Part 4 of Part 2, fill out and attach the Additional Pege of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claima? (See 71 U.S.C. § 607},
(CI No. Go ta Part 2.

ves Go to tne 2.

2. Listin alphebetical order all creditors who have unsecured claims that are entitled to prlority in whole or in part. !f the debtor has more than 3 creditors
woth pronty unsecured cians, fill out and attach tha Additonal Page of Part 1.

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Official Form 20GE/F Schedule EJF: Creditors Who Have Unsecured Claims page 1tol4

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Ea List All Creditors with NONPRIORITY Unsecured Claims

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3. List in alphabetical order all of tha craditors with nonpriority unsecured claims. i the debler has more than 6 credtors with nonprionly tireccured clams, fmt

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ts the claim subject a atisat? Mino Cl ves
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a] Nonpriority crediter's name and mailing address

Jerome Vangheluwe

Attn Raechel M Badalamenti

clo Kirk Huth Lango & Badalamenti
19500 Hall Rd Suite 1D0

Clinton Township, MI 48038
Date{s) debt was incurred 2/14/2018

Last 4 digits of account number _

As of the petition filing dats, the claim is: Gheck af nat apply. $800,000.00
u Contingent

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Basis for the clalm: Co-Plaintiff in pending lawsuit against debtor seeking,

damages of $800,000. Vangheluwe v. Got News, LLC, Case no.

2:48-cv-10542-L.JM-EAS (Eastern District of Michigan).

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[3S” 3 Monprtority creditor's name and mailing address

Joel Vanghetuwe
Attn Raeche] M Badalamenti
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19500 Hall Rd Suite 100

Cliiton Township, Ml 48038
Date{a) debt was incurred 2/14/2018:
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Santa Fe Springs, CA $0670

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Randazza Legal Group PLLC
Attn Mare J Randazza

2784 Lake Sahara Dr Suite 199
Las Vegas, NV 89117 .
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Basis for the claim: Legal Services provided to Debtor re pending
litigation in Michigan.

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[EXTEN List Others to Ge Notified About Unsecured Claims

4. List in stphabetics! ofder sny others who must be notified for claims listed in Parts 1 and 2. Examples of andties that may be fisted are collection agences,
assignees of Gaims Mates above, and attomeys for unsecured creditors.
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42 Jerome Vangheluwe
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Dallas, TX 75219
Official Foem 206 ExF Schedule E/F: Creditors Who Have Unsecured Claims Page 3of4

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Dallas, TX 75219
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Exhibit 2
Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc
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Query Reports Utilities

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CLOSED,APPEAL

USS. District Court
Eastern District of Michigan (Detroit)
CIVIL DOCKET FOR CASE #: 2:18-cv-10542-LJM-EAS

Vangheluwe et al v. Got News, LLC et al

Assigned to: District Judge Laurie J. Michelson
Referred to: Magistrate Judge Elizabeth A. Stafford
Demand: $75,000

Cause: 28:1332 Diversity-Libel,Assault,Slander

Plaintiff

Date Filed: 02/14/2018

Date Terminated: 05/28/2021

Jury Demand: Both

Nature of Suit: 320 Assault Libel &
Slander

Jurisdiction: Diversity

Joel Vangheluwe represented by Andrew Bryant Sommerman

Sommerman McCaffity & Quesada
LLP

3811 Turtle Creek Blvd

Suite 1400

Dallas, TX 75219

214-720-0720

Fax: 214-720-0184

Email: andrew@textrial.com
ATTORNEY TO BE NOTICED

Elizabeth P. Roberts

Kirk, Huth, Lange & Badalamenti,
P.L.C.

19500 Hall Road

Suite 100

Clinton Township, MI 48038
586-412-4900

Fax: 586-412-4949

Email: eroberts@KirkHuthlaw.com
ATTORNEY TO BE NOTICED

Raechel M. Badalamenti
Kirk and Huth
Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc
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19500 Hall Road

Suite 100

Clinton Township, MI 48038
586-412-4900

Fax: 586-412-4949

Email:
rbadalamenti@kirkhuthlaw.com
ATTORNEY TO BE NOTICED

Plaintiff

Jerome Vangheluwe represented by Andrew Bryant Sommerman
(See above for address)
ATTORNEY TO BE NOTICED

Elizabeth P. Roberts
(See above for address)
ATTORNEY TO BE NOTICED

Raechel M. Badalamenti
(See above for address)
ATTORNEY TO BE NOTICED

V.
Defendant

Got News, LLC represented by Got News, LLC
5812 Temple City Blvd.
Suite 402
Temple City, CA 91780-2112
PRO SE

Herschel P. Fink

Jaffe Raitt Heuer & Weiss, PC
28 W. Adams Ave.

Suite 1500

Detroit, MI 48226
313-800-6515

Email: hfink@jaffelaw.com
TERMINATED: 08/09/2019
ATTORNEY TO BE NOTICED

Marc J. Randazza
Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc

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Randazza Legal Group, PLLC

2764 Lake Sahara Drive
Suite 109

Las Vegas, NV 89117
702-420-2001

Email: MJR@randazza.com
TERMINATED: 08/09/2019

ATTORNEY TO BE NOTICED
Defendant
Freedom Daily, LLC
TERMINATED; 05/28/2021
Defendant
Charles C Johnson represented by Herschel P. Fink
TERMINATED: 09/17/2019 (See above for address)
ATTORNEY TO BE NOTICED
Mare J. Randazza
(See above for address)
ATTORNEY TO BE NOTICED
Defendant
Alberto Waisman
TERMINATED: 08/03/2018
Defendant
Jeffrey Rainforth represented by Jeffrey Rainforth
TERMINATED: 02/28/2020 1714 H. St.
Apt. 8
Sacramento, CA 95811
707-280-4234
PRO SE
Defendant
Jim Hoft represented by Alex L. Alexopoulos
TERMINATED: 08/15/2018 Starr, Butler, Alexopoulos, &
Stoner, PLLC
20700 Civic Center Drive
Suite 290

Southfield, MI 48076
248-864-4931
Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc
Main Document ‘Page 18 of 36
Email: ala@starrbutler.com

ATTORNEY TO BE NOTICED

Defendant

David Petersen

TERMINATED: 05/28/2021

Defendant

Jonathan Spiel

TERMINATED: 05/28/2021

Defendant

Shirley Husar

TERMINATED; 05/28/2021

Defendant

Eduardo Doitteau

TERMINATED: 05/28/2021

Defendant

Lita Coulthart-Villanueva represented by Lita Coulthart-Villanueva

TERMINATED; 08/07/2019 1543 Jeffries St.
Anderson, CA 96007-4022
530-364-2547
PRO SE

Defendant

Kenneth Strawn represented by Lynn H. Shecter

TERMINATED: 12/19/2019 Roy, Shecter, and Vocht, P.C.
707 South Eton Street
Birmingham, MI 48009
248-540-7660
Fax: 248-540-0321
Email: shecter@rsmv.com
ATTORNEY TO BE NOTICED

Defendant

Patrick Lehnhoff

TERMINATED: 07/31/2018

Defendant

Beth Eyestone

TERMINATED: 07/31/2018
Case 2:19-bk-14693-BR

Defendant

Lori Twohy
TERMINATED: 07/31/2018
Defendant

Raechel Hitchye
TERMINATED: 07/31/2018
Defendant

James Christopher Hastey
TERMINATED: 05/28/2021
Defendant

Christopher Jones
TERMINATED: 07/31/2018
Defendant

Connie Comeaux
TERMINATED: 05/28/2021
Defendant

Gavin McInnes
TERMINATED; 07/23/2018
Defendant

Richard Weikart
TERMINATED: 02/06/2019

Defendant

Paul Nehlen
TERMINATED: 02/06/2019

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represented by John Evanchek

43695 Michigan Ave

Canton, Mi 48188

United Sta

734-397-4540

Fax: 734-397-4567

Email: John@kelawpc.com
ATTORNEY TO BE NOTICED

represented by Kyle J. Bristow

Bristow Law, PLLC
P.O. Box 46209

Mt. Clemens, MI 48046
(248) 838-9934

Fax: (586) 408-6384
Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc

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Email: BristowLaw@gmail.com

ATTORNEY TO BE NOTICED

Date Filed

Docket Text

02/14/2018

I

COMPLAINT filed by All Plaintiffs against All Defendants with Jury
Demand. Plaintiff requests summons issued. Receipt No: 0645-
6601790 - Fee: $ 400. County of 1st Plaintiff: Macomb County -
County Where Action Arose: Macomb County - County of Ist
Defendant: Out of State. [Previously dismissed case: No] [Possible
companion case(s): None] (Attachments: # J Index of Exhibits Index
of Exhibits A-T, # 2 Exhibit Exhibit A:Got News Article, # 3 Exhibit
Exhibit B:Freedom Daily Article, # 4 Exhibit Exhibit C:Gateway
Pundit Article, # 5 Exhibit Exhibit D:Puppet String News Article, # 6
Exhibit Exhibit E:Studio News Network Video, # 7 Exhibit Exhibit
F:Studio News Network Article, # 8 Exhibit Exhibit G:Shirley Husars
Facebook Post, # 9 Exhibit Exhibit H:Eduardo Doitteau Twitter Post, #
10 Exhibit Exhibit I: Lita Coulthart-Villanueva Twitter Post, # 11
Exhibit Exhibit J: Kenneth Strawn Twitter Post, # 12 Exhibit Exhibit
K:Patrick Lehnhoffs Facebook Post, # 13 Exhibit Exhibit L:Beth
Eyestone Facebook Post, # 14 Exhibit Exhibit M: Lori Twohy
Facebook Post, # 15 Exhibit Exhibit N:Raechel Hitchye Facebook
Post, # 16 Exhibit Exhibit O:James Christopher Hastey Twitter Post, #
17 Exhibit Exhibit P:Christopher Jones Facebook Post, # 18 Exhibit
Exhibit Q:Connie Comeaux Twitter Post, # 19 Exhibit Exhibit
R:Gavin McInnes Twitter Post, # 20 Exhibit Exhibit S:Richard
Weikart Twitter Post, #21 Exhibit Exhibit T:Paul Nehlen Twitter Post)
(Badalamenti, Raechel) (Entered: 02/14/2018)

02/15/2018

ly

NOTICE of Appearance by Elizabeth P. Roberts on behalf of All
Plaintiffs. (Roberts, Elizabeth) (Entered: 02/15/2018)

02/15/2018

A United States Magistrate Judge of this Court is available to conduct
all proceedings in this civil action in accordance with 28 U.S.C. 636c
and FRCP 73. The Notice, Consent, and Reference of a Civil Action to
a Magistrate Judge form is available for download at
http://www.mied.uscourts.gov (DPer) (Entered: 02/15/2018)

02/15/2018

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SUMMONS Issued for * All Defendants * (DPer) (Entered:
02/15/2018)

04/20/2018

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ORDER to File an Amended Complaint. Signed by District Judge
Laurie J. Michelson. (K Jac) (Entered: 04/20/2018)

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04/20/2018

2

ATTORNEY APPEARANCE Ryie 3. Bristow appearing on behalf of
Paul Nehlen (Bristow, Kyle) (Entered: 04/20/2018)

04/23/2018

6

MOTION to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6)
by Paul Nehlen. (Bristow, Kyle) (Entered: 04/23/2018)

05/02/2018

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CERTIFICATE of Service/Summons Returned Executed. Connie
Comeaux served on 4/9/2018, answer due 4/30/2018; Lita Coulthart-
Villanueva served on 4/12/2018, answer due 5/3/2018; Eduardo
Doitteau served on 4/9/2018, answer due 4/30/2018; Freedom Daily,
LLC served on 4/10/2018, answer due 5/1/2018; Jim Hoft served on
4/10/2018, answer due 5/1/2018; Paul Nehlen served on 4/10/2018,
answer due 5/1/2018; David Petersen served on 4/19/2018, answer due
5/10/2018; Jeffrey Rainforth served on 5/1/2018, answer due
5/22/2018; Alberto Waisman served on 4/11/2018, answer due
5/2/2018; Richard Weikart served on 4/24/2018, answer due
5/15/2018. (Sommerman, Andrew) (Entered: 05/02/2018)

05/02/2018

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Summons Returned Unexecuted as to Beth Eyestone, Got News, LLC,
James Christopher Hastey, Raechel Hitchye, Shirley Husar, Charles C
Johnson, Christopher Jones, Patrick Lehnhoff, Gavin McInnes,
Kenneth Strawn, Lori Twohy . (Sommerman, Andrew) (Entered:
05/02/2018)

05/03/2018

Ko

NOTICE of Change of Address/Contact Information by John
Evanchek on behalf of Richard Weikart., NOTICE of Appearance by
John Evanchek on behalf of Richard Weikart. (Evanchek, John)
Modified on 5/4/2018 (SKra). [ATTORNEY APPEARANCE FOR
JOHN EVANCHEK] (Entered: 05/03/2018)

05/03/2018

[STRICKEN] ANSWER to Complaint Amended Complaint by Jerome
Vangheluwe, Joel Vangheluwe. (Attachments: # 1 Exhibit GotNews
Article, # 2 Exhibit Freedom Daily Article, #3 Exhibit Gateway
Pundit Article, # 4 Exhibit Puppet String News Articles, # 5 Exhibit
Studio News Network Video, # 6 Exhibit Studio News Network
Article, # 7 Exhibit Shirley Husar's Facebook Post, # 8 Exhibit
Eduardo Doitteau Twitter Post, # 9 Exhibit Lita Coulthart-Villanueva
Twitter Post, # 10 Exhibit Kenneth Strawn Twitter Post, # 11 Exhibit
Patrick Lehnhoff's Facebook Post, # 12 Exhibit Beth Eyestone
Facebook Post, # 13 Exhibit Lori Twohy Facebook Post, # 14 Exhibit
Raechel Hitchye Facebook Post, # 15 Exhibit James Christopher
Hastey Twitter Post, # 16 Exhibit Christopher Jones Facebook Post, #
17 Exhibit Connie Comeaux Twitter Post, # 18 Exhibit Gavin McInnes
Twitter Post, # 19 Exhibit Richard Weikart Twitter Post, # 20 Exhibit

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Paul Nehlen Twitter Post) (Sommerman, Andrew) Modified on

5/4/2018 (NAhm). (Entered: 05/03/2018)

05/04/2018

11 | Second MOTION to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(2) and

12(b)(6) by Paul Nehlen. (Bristow, Kyle) (Entered: 05/04/2018)

05/04/2018

NOTICE of Error directed to: Andrew Bryant Sommerman re 10
Answer to Complaint,,,,. Wrong or incomplete PDF image was
uploaded.[DOCUMENT IS AN AMENDED COMPLAINT. NOT AN
ANSWER TO AMENDED COMPLAINT] Document was stricken
and must be refiled correctly. [No Image Associated with this docket
entry] (NAhm) (Entered: 05/04/2018)

05/04/2018

12 | AMENDED COMPLAINT with Jury Demand filed by Joel

Vangheluwe, Jerome Vangheluwe against All Defendants. NO NEW
PARTIES ADDED. (Attachments: # 1 Exhibit GotNews Article, # 2
Exhibit Freedom Daily Article, # 3 Exhibit Gateway Pundit Article, #
4 Exhibit Puppet String News Articles, # 5 Exhibit Studio News
Network Video, # 6 Exhibit Studio News Network Article, # 7 Exhibit
Shirley Husars Facebook post, # 8 Exhibit Eduardo Doitteau Twitter
post, # 9 Exhibit Lita Coulthart-Villanueva Twitter post, # 10 Exhibit
Kenneth Strawn Twitter post, # 11 Exhibit Patrick Lehnhoffs
Facebook post, # 12 Exhibit Beth Eyestone Facebook post, # 13
Exhibit Lori Twohy Facebook post, # 14 Exhibit Raechel Hitchye
Facebook post, # 15 Exhibit James Christopher Hastey Twitter post, #
16 Exhibit Christopher Jones Facebook post, # 17 Exhibit Connie
Comeaux Twitter post, # 18 Exhibit Gavin McInnes Twitter post, # 19
Exhibit Richard Weikart Twitter post, # 20 Exhibit Paul Nehlen
Twitter post) (Sommerman, Andrew) (Entered: 05/04/2018)

05/04/2018

Third MOTION to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(2) and
12(b)(6) by Paul Nehlen. (Bristow, Kyle) (Entered: 05/04/2018)

05/08/2018

CERTIFICATE of Service/Summons Returned Executed. Got News,
LLC served on 5/5/2018, answer due 5/29/2018; James Christopher
Hastey served on 4/26/2018, answer due 5/17/2018; Charles C
Johnson served on 5/5/2018, answer due 5/29/2018; Kenneth Strawn
served on 5/2/2018, answer due 5/23/2018. (Sommerman, Andrew)
(Entered: 05/08/2018)

05/08/2018

Mediation Status Report. (KJac) (Entered: 05/08/2018)

05/09/2018

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NOTICE by Paul Nehlen re 6 MOTION to Dismiss Pursuant to Fed.
R. Civ. P. 12(b)(2) and 12(b)(6), 11 Second MOTION to Dismiss
Pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6) , NOTICE by Paul
Nehlen of withdrawal of 11 Second MOTION to Dismiss Pursuant to

Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc

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Fed. R. Civ. P. 12(b)(2) and 1B)(6), 6 6 MOTION to Dismiss Pursuant

to Fed. R. Civ. P. 12(b)(2) and 12(b)(6) . (Bristow, Kyle) (Entered:
05/09/2018)

05/15/2018

17 | MOTION to Dismiss by Richard Weikart. (Evanchek, John) (Entered:

05/15/2018)

05/15/2018

18 | CERTIFICATE of Service/Summons Returned Executed. Gavin

McInnes served on 5/15/2018, answer due 6/5/2018. (Sommerman,
Andrew) (Entered: 05/15/2018)

05/15/2018

19 | MOTION TO EXTEND Issuance of Second Summonses for Unserved

Defendants by All Plaintiffs. (Attachments: # 1 Exhibit Declaration of
Andrew B. Sommerman) (Sommerman, Andrew) (Entered:
05/15/2018)

05/16/2018

ORDER for Plaintiffs to Meet and Confer With Each Defendant.
Signed by District Judge Laurie J. Michelson. (KJac) (Entered:
05/16/2018)

05/16/2018

21 | MOTION for Extension of Time to File Answer or Response to the

Complaint by Got News, LLC, Charles C Johnson. (Attachments: # 1
Exhibit 1 - Mediation Status Report) (Randazza, Marc) (Entered:
05/16/2018)

05/18/2018

[STRICKEN] MOTION to dismiss by Lita Coulthart- Villanueva.
(DPer) Modified on 5/21/2018 (KJac). (Entered: 05/18/2018)

05/18/2018

RESPONSE to 21 MOTION for Extension of Time to File Answer or
Response to the Complaint filed by All Plaintiffs. (Attachments: # 1
Index of Exhibits, # 2 Exhibit Exhibit A - Order, # 3 Exhibit Exhibit B
- E-mails, # 4 Exhibit Exhibit C - E-mails) (Sommerman, Andrew)
(Entered: 05/18/2018)

05/21/2018

TEXT-ONLY ORDER: Defendant's Motion to Dismiss (R. 22 ) is
hereby STRICKEN pursuant to the Court's Order entered on May 16,
2018 (R. 20 ). Issued by District Judge Laurie J. Michelson. (KJac)
(Entered: 05/21/2018)

05/21/2018

TEXT-ONLY CERTIFICATE OF SERVICE re 20 and 5/21/18 Text-
Only Order on Lita Coulthart-Villanueva at 1543 Jeffries St.,
Anderson, CA 96007-4022. (KJac) (Entered: 05/21/2018)

05/23/2018

REPLY to Response re 21 MOTION for Extension of Time to File
Answer or Response to the Complaint filed by Got News, LLC,
Charles C Johnson. (Attachments: # 1 Exhibit 1 - GotNews Retraction,
# 2 Exhibit 2 - Freep Article) (Randazza, Marc) (Entered: 05/23/2018)

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05/25/2018

25

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Letter. (KJac) (Entered: 05/25/2018)

05/25/2018

2

ANSWER to Complaint and Motion to Appoint Counsel by Kenneth
Strawn. (KJac) (Entered: 05/25/2018)

05/29/2018

TEXT-ONLY ORDER: Defendants’ Motion for Extension of Time to
File Answer is granted to the extent set forth in the Court's May 16,
2018 (R. 20 ) Order. To the extent Defendants need some additional
time to respond to the Complaint, such response shall be filed by June
26, 2018. Issued by District Judge Laurie J. Michelson. (KJac)
(Entered: 05/29/2018)

05/29/2018

S

NOTICE of Appearance by Herschel P. Fink on behalf of Got News,
LLC. (Fink, Herschel) (Entered: 05/29/2018)

05/29/2018

NOTICE of Appearance by Herschel P. Fink on behalf of Charles C
Johnson. (Fink, Herschel) (Entered: 05/29/2018)

05/30/2018

8

ATTORNEY APPEARANCE: Alex L. Alexopoulos appearing on
behalf of Jim Hoft (Alexopoulos, Alex) (Entered: 05/30/2018)

05/30/2018

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30 | JOINT CONFERENCE REPORT Defendant Paul Nehlen's and

Plaintiffs' Court-Ordered Joint Conference Report by All Plaintiffs
(Sommerman, Andrew) (Entered: 05/30/2018)

05/30/2018

JOINT CONFERENCE REPORT Defendant Richard Weikart and
Plaintiffs' Court-Ordered Joint Conference Report by All Plaintiffs
(Sommerman, Andrew) (Entered: 05/30/2018)

05/30/2018

NOTICE by Joel Vangheluwe Joel Vangheluwe's Notice of Acceptance
of Defendant Charles Johnson's Offer of Judgment (Attachments: # 1
Exhibit Charles Johnson's Offer of Judgment to Joel Vangheluwe)
(Sommerman, Andrew) (Entered: 05/30/2018)

05/30/2018

33 | NOTICE by Jerome Vangheluwe Jerome Vangheluwe's Notice of

Acceptance of Defendant Charles Johnson's Offer of Judgment
(Attachments: # 1] Exhibit Charles Johnson's Offer of Judgment to
Jerome Vangheluwe) (Sommerman, Andrew) (Entered: 05/30/2018)

05/30/2018

34 | NOTICE by Jerome Vangheluwe Jerome Vangheluwe's Notice of

Acceptance of Defendant GotNews, LLC's Offer of Judgment
(Attachments: # 1 Exhibit GotNews, LLC's Offer of Judgment to
Jerome Vangheluwe) (Sommerman, Andrew) (Entered: 05/30/2018)

05/30/2018

Third MOTION to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(2) and
12(b)(6) by Paul Nehlen. (Attachments: # 1 Exhibit Exhibit A)
(Bristow, Kyle)[TITLED AS A FOURTH MOTION TO DISMISS]
Modified on 6/21/2018 (DPer). (Entered: 05/30/2018)

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05/31/2018

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TEXT-ONLY ORDER: Pursuant to Federal Rule of Civil Procedure

4(m) and the for the reasons set forth in Plaintiffs' unopposed Motion
for Issuance of Second Summonses For Unserved Defendants the
motion is hereby GRANTED. Issued by District Judge Laurie J.
Michelson. (KJac) (Entered: 05/31/2018)

05/31/2018

36 | ORDER. Signed by District Judge Laurie J. Michelson. (KJac)

(Entered: 05/31/2018)

05/31/2018

REQUEST for SUMMONS for Beth Eyestone, Raechel Hitchye,
Shirley Husar, Christopher Jones, Patrick Lehnhoff, Jonathan Spiel,
Lori Twohy. (Sommerman, Andrew) (Entered: 05/31/2018)

06/01/2018

SUMMONS Issued for *Beth Eyestone, Raechel Hitchye, Shirley
Husar, Christopher Jones, Patrick Lehnhoff, Jonathan Spiel, Lori
Twohy* (LGra) (Entered: 06/01/2018)

06/06/2018

38 | JOINT CONFERENCE REPORT Defendant Lita Coulthart-

Villanueva's and Plaintiffs' Court-Ordered Joint Conference Report by
All Plaintiffs (Sommerman, Andrew) (Entered: 06/06/2018)

06/07/2018

JOINT CONFERENCE REPORT Defendant Alberto Waisman's and
Plaintiffs' Court-Ordered Joint Conference Report by All Plaintiffs
(Sommerman, Andrew) (Entered: 06/07/2018)

06/13/2018

CERTIFICATE of Service/Summons Returned Executed. Shirley
Husar served on 6/7/2018, answer due 6/28/2018. (Sommerman,
Andrew) (Entered: 06/13/2018)

06/14/2018

CERTIFICATE of Service/Summons Returned Executed. Jonathan
Spiel served on 6/14/2018, answer due 7/5/2018. (Sommerman,
Andrew) (Entered: 06/14/2018)

06/15/2018

MOTION to Dismiss by Richard Weikart. (Evanchek, John) (Entered:
06/15/2018)

06/20/2018

STATUS REPORT REPORT Plaintiffs’ Status Report Regarding Their
Conference with Defendants GotNews, LLC and Charles Johnson by
All Plaintiffs (Attachments: # 1 Index of Exhibits, #2 Exhibit Emails
between counsel, # 3 Exhibit Emails between counsel) (Sommerman,
Andrew) (Entered: 06/20/2018)

06/20/2018

MOTION for Sanctions by Got News, LLC, Charles C Johnson.
(Randazza, Marc) (Entered: 06/20/2018)

06/20/2018

RESPONSE to 35 Third MOTION to Dismiss Pursuant to Fed. R. Civ.
P. 12(b)(2) and 12(b)(6) filed by All Plaintiffs. (SSommerman, Andrew)

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[RESPONSE TO FOURTH MOTION FOR DISMISSAL] Modified
on 6/21/2018 (DPer). (Entered: 06/20/2018)

06/22/2018

RESPONSE to 44 MOTION for Sanctions filed by All Plaintiffs.
(Sommerman, Andrew) (Entered: 06/22/2018)

06/25/2018

B

MOTION to dismiss by Lita Coulthart-Villanueva. (DPer) (Entered:
06/26/2018)

06/26/2018

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SUR-REPLY re 35 Third MOTION to Dismiss Pursuant to Fed. R.
Civ. P. 12(b)(2) and 12(b)(6) filed by Paul Nehlen. (Attachments: # 1
Exhibit GOTNews Article, # 2 Exhibit Paul Nehlen's Tweet) (Bristow,
Kyle) (Entered: 06/26/2018)

06/26/2018

ANSWER to Amended Complaint with Affirmative Defenses with
Jury Demand by Got News, LLC. (Randazza, Marc) (Entered:
06/26/2018)

06/26/2018

MOTION to Dismiss / Anti-SLAPP Motion by Got News, LLC.
(Attachments: # 1 Index of Exhibits, # 2 Exhibit 1 - Vice Article, # 3
Exhibit 2 - Alexa Ranking, # 4 Exhibit 3 - Executive Order 66, # 5
Exhibit 4 - Vehicle Registration, # 6 Exhibit 5 - License Plate - VIN
Search, # 7 Exhibit 6 - Michigan Department of State Records, # 8
Exhibit 7 - USA Today Article, # 9 Exhibit 8 - NBC29 Article, # 10
Exhibit 9 - NYT Article, # 11 Exhibit 10 - Fox News Article, # 12
Exhibit 11 - Jalopnik Article, # 13 Exhibit 12 - ClickOnDetroit Article,
# 14 Exhibit 13 - Transcript of Video, # 15 Exhibit 14 - Politico
Asticle, # 16 Exhibit - Declaration of Trey A. Rothell) (Randazza,
Marc) (Entered: 06/26/2018)

06/27/2018

STATEMENT of DISCLOSURE of CORPORATE AFFILIATIONS
and FINANCIAL INTEREST by Got News, LLC (Randazza, Marc)
(Entered: 06/27/2018)

06/29/2018

REPLY to Response re 44 MOTION for Sanctions filed by Got News,
LLC, Charles C Johnson. (Attachments: # 1 Exhibit A - Proposed
Court-Ordered Joint Conference Report) (Randazza, Marc) (Entered:
06/29/2018)

07/06/2018

53 | MOTION for Leave to File to File Sur-Reply and Brief in Support by

All Plaintiffs. (Attachments: # 1 Exhibit Pls' Sur-Reply to Def's Reply
in Support of his 4th Motion for Dismissal) (Sommerman, Andrew)
(Entered: 07/06/2018)

07/06/2018

RESPONSE to 42 MOTION to Dismiss Plaintiffs' Response to
Defendant Richard Weikart's Renewed Motion to Dismiss Purauant to

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Fed.R.Civ.P. 12(B)(2) and Brief in Support filed by All Plaintiffs.

(Sommerman, Andrew) (Entered: 07/06/2018)

07/07/2018

55 | RESPONSE to 53 MOTION for Leave to File to File Sur-Reply and

Brief in Support filed by Paul Nehlen. (Bristow, Kyle) (Entered:
07/07/2018)

07/10/2018

56 | ANSWER to complaint by Jeffrey Rainforth. (DPer) (Entered:

07/10/2018)

07/16/2018

57 | RESPONSE to 47 MOTION to Dismiss Plaintiffs’ Response to

Defendant Lita Coulthart-Villanueva's Motion to Dismiss and Brief in
Support filed by All Plaintiffs. (Attachments: # 1 Exhibit Lita
Coulthart-Villanueva Twitter post) (Sommerman, Andrew) (Entered:
07/16/2018)

07/17/2018

58 | RESPONSE to 50 MOTION to Dismiss / Anti-SLAPP Motion Plaintiff

Joel Vangheluwe's Response to Defendant GotNews, LLC's Anti-Slapp
Motion and Plaintiff's Motion to Strike Defendant's Motion and Brief
in Support filed by Joel Vangheluwe. (Attachments: # 1 Index of
Exhibits, # 2 Exhibit Affidavit of Joel Vangheluwe, # 3 Exhibit
Affidavit of Jerome Vangheluwe, # 4 Exhibit Affidavit of Jasmine
Bartlett, # 5 Exhibit Affidavit of Alexandrea Roland, # 6 Exhibit
Affidavit of Alexandrea Roland) (Sommerman, Andrew) Modified on
7/18/2018 (DPer). (Entered: 07/17/2018)

07/20/2018

REPLY to Response re 42 MOTION to Dismiss filed by Richard
Weikart. (Evanchek, John) (Entered: 07/20/2018)

07/23/2018

60 |STIPULATION of Dismissal as to Defendant Gavin McInnes Only by

All Plaintiffs (Sommerman, Andrew) (Entered: 07/23/2018)

07/23/2018

61 | ORDER on Stipulation of Dismissal as to Gavin McInnes Only.

Signed by District Judge Laurie J. Michelson. (KJac) (Entered:
07/23/2018)

07/26/2018

62 | REQUEST FOR CLERK'S ENTRY OF DEFAULT as to Connie

Comeaux by All Plaintiffs. (Sommerman, Andrew) (Entered:
07/26/2018)

07/26/2018

63 | REQUEST FOR CLERK'S ENTRY OF DEFAULT as to David

Petersen by All Plaintiffs. (Sommerman, Andrew) (Entered:
07/26/2018)

07/26/2018

64 | REQUEST FOR CLERK'S ENTRY OF DEFAULT as to Eduardo

Doitteau by All Plaintiffs. (Sommerman, Andrew) (Entered:
07/26/2018)

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07/26/2018

65

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REQUEST FOR CLERK'S ENTRY OF DEFAULT as to James

Christopher Hastey by All Plaintiffs. Sommerman, Andrew) (Entered:
07/26/2018)

07/26/2018

66 | REQUEST FOR CLERK'S ENTRY OF DEFAULT as to Jonathan

Spiel by All Plaintiffs. SSommerman, Andrew) (Entered: 07/26/2018)

07/26/2018

67 | REQUEST FOR CLERK'S ENTRY OF DEFAULT as to Shirley

Husar by All Plaintiffs. (Sommerman, Andrew) (Entered: 07/26/2018)

07/26/2018

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REQUEST FOR CLERK'S ENTRY OF DEFAULT as to Freedom
Daily, LLC by All Plaintiffs. (Sommerman, Andrew) (Entered:
07/26/2018)

07/26/2018

IS

CLERK'S ENTRY OF DEFAULT as to *Connie Comeaux* (NAhm)
(Entered: 07/26/2018)

07/26/2018

CLERK'S ENTRY OF DEFAULT as to *David Petersen* (NAhm)
(Entered: 07/26/2018)

07/26/2018

CLERK'S ENTRY OF DEFAULT as to *Eduardo Doitteau* (NAhm)
(Entered: 07/26/2018)

07/26/2018

CLERK'S ENTRY OF DEFAULT as to *James Christopher Hastey*
(NAhm) (Entered: 07/26/2018)

07/26/2018

CLERK'S ENTRY OF DEFAULT as to *Jonathan Spiel* (NAhm)
(Entered: 07/26/2018)

07/26/2018

CLERK'S ENTRY OF DEFAULT as to *Shirley Husar* (NAhm)
(Entered: 07/26/2018)

07/26/2018

CLERK'S ENTRY OF DEFAULT as to *Freedom Daily, LLC*
(NAhm) (Entered: 07/26/2018)

07/30/2018

[NOTICE] STIPULATION of Dismissal as to Beth Eyestone by All
Plaintiffs (Sommerman, Andrew) Modified on 7/31/2018 (LGra).
(Entered: 07/30/2018)

07/30/2018

[NOTICE] STIPULATION of Dismissal as to Christopher Jones by
All Plaintiffs (Sommerman, Andrew) Modified on 7/31/2018 (LGra).
(Entered: 07/30/2018)

07/30/2018

[NOTICE] STIPULATION of Dismissal as to Lori Twohy by All
Plaintiffs (Sommerman, Andrew) Modified on 7/31/2018 (LGra).
(Entered: 07/30/2018)

07/30/2018

[NOTICE] STIPULATION of Dismissal as to Patrick Lenhoff by All
Plaintiffs (Sommerman, Andrew) Modified on 7/31/2018 (LGra).

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(Entered: 07/30/2018)

07/30/2018

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[NOTICE] STIPULATION of Dismissal as to Raechel Hitchye by All
Plaintiffs (Sommerman, Andrew) Modified on 7/31/2018 (LGra).
(Entered: 07/30/2018)

07/31/2018

REPLY to Response re 50 MOTION to Dismiss / Anti-SLAPP Motion
filed by Got News, LLC. (Randazza, Marc) (Entered: 07/31/2018)

08/02/2018

STIPULATION of Dismissal as to Alberto Waisman Only by All
Plaintiffs (Sommerman, Andrew) (Entered: 08/02/2018)

08/03/2018

ORDER on Stipulation of Dismissal as to Alberto Waisman Only.
Signed by District Judge Laurie J. Michelson. (KJac) (Entered:
08/03/2018)

08/15/2018

[ENTERED ON THE WRONG DOCKET] STIPULATED ORDER of
Dismissal of Defendant Jim Hoft Only With Prejudice and Without
Costs. Signed by District Judge Laurie J. Michelson. (KJac) (Entered:
08/15/2018)

08/15/2018

NOTICE of Correction. (KJac) (Entered: 08/15/2018)

08/15/2018

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STIPULATED ORDER of Dismissal of Defendant Jim Hoft Only
With Prejudice and Without Costs. Signed by District Judge Laurie J.
Michelson. (KJac) (Entered: 08/15/2018)

08/31/2018

REQUEST to Issue Judgment in a Civil Action by Joel Vangheluwe.
(Attachments: # 1 Exhibit Judgment in a Civil Action) (Sommerman,
Andrew) (Entered: 08/31/2018)

08/31/2018

88 | REQUEST to Issue Judgment in a Civil Action by Jerome

Vangheluwe. (Attachments: # 1 Exhibit Judgment in a Civil Action)
(Sommerman, Andrew) (Entered: 08/31/2018)

08/31/2018

89 | REQUEST to Issue Judgment in a Civil Action by Jerome

Vangheluwe. (Attachments: # 1 Exhibit Judgment in a Civil Action)
(Sommerman, Andrew) (Entered: 08/31/2018)

01/10/2019

MOTION to Dismiss by Kenneth Strawn. (Shecter, Lynn) (Entered:
01/10/2019)

01/15/2019

TEXT-ONLY ORDER: Plaintiffs are to docket, under seal if they wish
(Court only access), unredacted versions of all the exhibits to their
amended complaint. If possible, Plaintiffs are to electronically create
the pdf from the webpage or post (as opposed to a print out of the
webpage or post that is then scanned back into a pdf). Signed by
District Judge Laurie J. Michelson. (WBar) (Entered: 01/15/2019)

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01/17/2019

91

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SEALED Unredacted Exhibits to Plaintiffs' Amended Complaint re 12

Amended Complaint,,,, by All Plaintiffs. (Attachments: # 1 Exhibit
Got News Article, # 2 Exhibit Freedom Daily Article, # 3 Exhibit
Gateway Pundit Article, # 4 Exhibit Puppet String News Article, # 5
Exhibit Studio News Network Video, # 6 Exhibit Studio News
Network Article, #7 Exhibit Shirley Husar Facebook Page, # 8
Exhibit Eduardo Doitteau Twitter Post, # 9 Exhibit Lita Coulthart-
Villanueva Twitter Post, # 10 Exhibit Kenneth Strawn Twitter Post, #
11 Exhibit Patrick Lenhoff Facebook Post, # 12 Exhibit Beth Eyestone
Facebook Post, # 13 Exhibit Lori Twohy Facebook Post, # 14 Exhibit
Raechel Hitchye Facebook Post, # 15 Exhibit James Christopher
Hastey Twitter Post, # 16 Exhibit Christopher Jones Facebook Post, #
17 Exhibit Connie Comeaux Twitter Post, # 18 Exhibit Gavin McInnes
Twitter Post, # 19 Exhibit Richard Weikart Twitter Post, # 20 Exhibit
Paul Nehlen Twitter Post) (Sommerman, Andrew) (Entered:
01/17/2019)

01/25/2019

ORDER OF DETERMINATION re 90 MOTION to Dismiss filed by
Kenneth Strawn. Signed by District Judge Laurie J. Michelson.
(WBar) (Entered: 01/25/2019)

01/31/2019

93 | RESPONSE to 90 MOTION to Dismiss filed by Joel Vangheluwe.

(Sommerman, Andrew) (Entered: 01/31/2019)

02/06/2019

OPINION AND ORDER granting 35 Motion to Dismiss; granting 42
Motion to Dismiss; denying 47 Motion to Dismiss; granting 53 Motion
for Leave to File Sur-Reply. Signed by District Judge Laurie J.
Michelson. (WBar) (Entered: 02/06/2019)

02/06/2019

OPINION AND ORDER denying 50 Motion to Dismiss. Signed by
District Judge Laurie J. Michelson. (WBar) (Entered: 02/06/2019)

02/06/2019

ORDER denying 90 Motion to Dismiss; and Denying as moot 26
Motion to Appoint Counsel. Signed by District Judge Laurie J.
Michelson. (WBar) (Entered: 02/06/2019)

02/06/2019

ORDER denying 44 Motion for Sanctions. Signed by District Judge
Laurie J. Michelson. (WBar) (Entered: 02/06/2019)

02/15/2019

98 | NOTICE OF INTERLOCUTORY APPEAL by Got News, LLC,

Charles C Johnson re 95 Order on Motion to Dismiss. Receipt No:
0645-7112382 - Fee: $ 505 - Fee Status: Fee Paid. (Randazza, Marc)
(Entered: 02/15/2019)

02/20/2019

Certificate of Service re 98 Notice of Interlocutory Appeal. (SOso)
(Entered: 02/20/2019)

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03/04/2019

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OFFER of Judgment by Kenneth Strawn (Shecter, Lynn) (Entered:
03/04/2019)

03/11/2019

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JOINT CONFERENCE REPORT by All Plaintiffs (Sommerman,
Andrew) (Entered: 03/11/2019)

03/15/2019

102

ORDER TO ATTEND SCHEDULING CONFERENCE AND
NOTICE OF REQUIREMENTS FOR SUBMISSION OF
DISCOVERY PLAN; Scheduling Conference set for 4/18/2019 02:00
PM before District Judge Laurie J. Michelson, Signed by District
Judge Laurie J. Michelson. (WBar) (Entered: 03/15/2019)

03/15/2019

TEXT-ONLY CERTIFICATE OF SERVICE re 102 Order Setting
Scheduling Conference on Lita Coulthart-Villanueva at 1543 Jeffries
St., Anderson, CA 96007-4022. (WBar) (Entered: 03/15/2019)

03/15/2019

TEXT-ONLY CERTIFICATE OF SERVICE re 102 Order to Attend
Scheduling Conference on Jeffrey Rainforth at 1714 H. Street, Apt. 8,
Sacramento, CA 95811. (WBar) (Entered: 03/15/2019)

03/15/2019

AMENDED ORDER TO ATTEND TELEPHONE SCHEDULING
CONFERENCE AND NOTICE OF REQUIREMENTS FOR
SUBMISSION OF DISCOVERY PLAN; TELEPHONIC Scheduling
Conference RESET for 4/17/2019 11:00 AM before District Judge
Laurie J. Michelson) Signed by District Judge Laurie J. Michelson.
(WBar) (Entered: 03/15/2019)

03/15/2019

TEXT-ONLY CERTIFICATE OF SERVICE re 103 Amended Order
on Lita Coulthart-Villanueva at 1543 Jeffries St., Anderson, CA
96007-4022. (WBar) (Entered: 03/15/2019)

03/15/2019

TEXT-ONLY CERTIFICATE OF SERVICE re 103 Amended Order
on Jeffrey Rainforth at 1714 H. Street, Apt. 8, Sacramento, CA 95811.
(WBar) (Entered: 03/15/2019)

03/15/2019

RESPONSE to 100 Offer of Judgment by Joel Vangheluwe.
(Sommerman, Andrew) (Entered: 03/15/2019)

03/19/2019

DISCOVERY plan jointly filed pursuant to Federal Rules of Civil
Procedure 26(f) (Shecter, Lynn) (Entered: 03/19/2019)

03/25/2019

NOTICE by All Plaintiffs Notice of Plaintiffs' Initial Disclosures
(Sommerman, Andrew) (Entered: 03/25/2019)

04/11/2019

MOTION for Withdrawal of Attorney Marc J. Randazza, Herschel P.
Fink by Got News, LLC. (Attachments: # 1 Exhibit 1) (Randazza,
Marc) (Entered: 04/11/2019)

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04/12/2019 | 108

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JOINT CASE MANAGEMENT REPORT REPORT by All Plaintiffs
(Sommerman, Andrew) (Entered: 04/12/2019)

04/15/2019

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NOTICE OF HEARING on 107 MOTION for Withdrawal of Attorney
Marc J. Randazza, Herschel P. Fink. Motion Hearing set for
4/26/2019 10:30 AM before District Judge Laurie J. Michelson
(WBar) (Entered: 04/15/2019)

04/15/2019

RESET Deadlines/Hearings: Telephone Scheduling Conference
RESET for 4/26/2019 11:15 AM before District Judge Laurie J.
Michelson (WBar) (Entered: 04/15/2019)

04/25/2019

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SUGGESTION OF BANKRUPTCY Upon the Record by Got News,
LLC (Attachments: # 1 Exhibit 1) (Randazza, Marc) (Entered:
04/25/2019)

04/25/2019

ORDER Adjourning Hearing on Motion for withdrawal of counsel;
and resetting TELEPHONIC Scheduling Conference for 5/10/2019
02:00 PM before District Judge Laurie J. Michelson, Signed by
District Judge Laurie J. Michelson. (WBar) (Entered: 04/25/2019)

04/26/2019

TEXT-ONLY CERTIFICATE OF SERVICE re 111 Order on Jeffrey
Rainforth at 1714 H. Street, Apt. 8, Sacramento, CA 95811. (WBar)
(Entered: 04/26/2019)

04/26/2019

TEXT-ONLY CERTIFICATE OF SERVICE re 111 Order on Lita
Coulthart-Villanueva at 1543 Jeffries St., Anderson, CA 96007-4022.
(WBar) (Entered: 04/26/2019)

05/10/2019

Minute Entry for proceedings before District Judge Laurie J.
Michelson: Telephonic Scheduling Conference held on 5/10/2019
(Court Reporter: None Present, Not on the Record) (WBar) (Entered:
05/10/2019)

05/10/2019

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CASE MANAGEMENT REQUIREMENTS AND SCHEDULING
ORDER: Interim Status Conference set for 8/7/2019 02:00 PM
before District Judge Laurie J. Michelson; Dispositive Motion
Cut-off set for 2/3/2020 Signed by District Judge Laurie J. Michelson.
(Refer to image for additional dates) (WBar) (Entered: 05/10/2019)

05/10/2019 TEXT-ONLY CERTIFICATE OF SERVICE re 112 Scheduling Order,
and 94 Order on Lita Coulthart-Villanueva at 1543 Jeffries St.,
Anderson, CA 96007-4022. (WBar) (Entered: 05/10/2019)

05/10/2019 TEXT-ONLY CERTIFICATE OF SERVICE re 112 Scheduling Order,

on Jeffrey Rainforth at 1714 H. Street, Apt. 8, Sacramento, CA 95811.
(WBar) (Entered: 05/10/2019)

Case 2:19-bk-14693-BR Doc66 Filed 12/11/22 Entered 12/11/22 16:42:55 Desc

05/22/2019

113

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DOCUMENT received from Kenneth Strawn (DPer) (Entered:

05/24/2019)

05/24/2019

114

AMENDED COMPLAINT with Jury Demand filed by All Plaintiffs
against Connie Comeaux, Lita Coulthart-Villanueva, Eduardo
Doitteau, Freedom Daily, LLC, Got News, LLC, James Christopher
Hastey, Shirley Husar, Charles C Johnson, David Petersen, Jeffrey
Rainforth, Jonathan Spiel, Kenneth Strawn. NO NEW PARTIES
ADDED. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, #4
Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit,
# 10 Exhibit, # 11 Exhibit, # 12 Index of Exhibits) (Sommerman,
Andrew) (Entered: 05/24/2019)

05/28/2019

CERTIFICATE OF SERVICE re 114 Amended Complaint,, by All
Plaintiffs Amended (Sommerman, Andrew) (Entered: 05/28/2019)

08/01/2019

ORDER for Defendants Got News and Johnson to Provide Status.
Signed by District Judge Laurie J. Michelson. (WBar) (Entered:
08/01/2019)

08/01/2019

TEXT-ONLY CERTIFICATE OF SERVICE re 116 Order on Lita
Coulthart-Villanueva at 1543 Jeffries St., Anderson, CA 96007-4022.
(WBar) (Entered: 08/01/2019)

08/01/2019

TEXT-ONLY CERTIFICATE OF SERVICE re 116 Order on Jeffrey
Rainforth at 1714 H. Street, Apt. 8, Sacramento, CA 95811. (WBar)
(Entered: 08/01/2019)

08/06/2019

MOTION to Dismiss Lita Coulthart-Villanueva with Prejudice by All
Plaintiffs. (Sommerman, Andrew) (Entered: 08/06/2019)

08/06/2019

Status REPORT by Got News, LLC, Charles C Johnson (Randazza,
Marc) (Entered: 08/06/2019)

08/07/2019

ORDER granting 117 Unopposed Motion to Dismiss Lita Coulthart-
Villanueva. Signed by District Judge Laurie J. Michelson. (WBar)
(Entered: 08/07/2019)

08/07/2019

Minute Entry for proceedings before District Judge Laurie J.
Michelson: Interim Telephonic Status Conference held on 8/7/2019
(Court Reporter: None Present, Not on the Record) (WBar) (Entered:
08/07/2019)

08/09/2019

ORDER granting 107 Motion to Withdraw as Attorney.. Signed by
District Judge Laurie J. Michelson. (WBar) (Entered: 08/09/2019)

08/09/2019

NOTICE by Got News, LLC and Certificate of Service (Attachments:
# 1 Exhibit A) (Randazza, Marc) (Entered: 08/09/2019)

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09/12/2019

122

ain Document __ Page 34 of 36
NOTICE by. All Plaintiffs Notice of Settlement (Sommerman, Andrew)

(Entered: 09/12/2019)

09/12/2019

NOTICE by All Plaintiffs re 122 Notice (Other) Amended Notice of
Settlement (Sommerman, Andrew) (Entered: 09/12/2019)

09/17/2019

STIPULATION of Dismissal with Prejudice as to Defendant Charles
Johnson Only by Jerome Vangheluwe, Joel Vangheluwe (Sommerman,
Andrew) (Entered: 09/17/2019)

09/17/2019

ORDER OF DISMISSAL as to Defendant Charles C. Johnson, ONLY,
re 124 Stipulation. Signed by District Judge Laurie J. Michelson.
(WBar) (Entered: 09/17/2019)

12/04/2019

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NOTICE TO APPEAR BY TELEPHONE: Status Conference set for
12/13/2019 at 11:00 AM before District Judge Laurie J. Michelson.
To participate in the conference, dial into the Eastern District of
Michigan's telephone conference system at (866) 434-5269. The
system will then provide directions for joining the call; when asked for
an access code, use 9819334, (EKar) (Entered: 12/04/2019)

12/04/2019

RESET Hearing: TELEPHONIC Status Conference 126 RESET
for 12/12/2019 10:00 AM before District Judge Laurie J.
Michelson. To participate in the conference, dial into the Eastern
District of Michigan's telephone conference system at (866) 434-5269.
The system will then provide directions for joining the call; when
asked for an access code, use 9819334. (EKar) (Entered: 12/04/2019)

12/12/2019

Minute Entry for proceedings before District Judge Laurie J.
Michelson: Telephonic Status Conference held on 12/12/2019. (Court
Reporter: None Present, Not on the Record) (EKar) (Entered:
12/12/2019)

12/19/2019

STIPULATION of Dismissal as to Kenneth Strawn Only by All
Plaintiffs (Sommerman, Andrew) (Entered: 12/19/2019)

12/19/2019

ORDER on Stipulation of Dismissal as to Kenneth Strawn Only.
Signed by District Judge Laurie J. Michelson. (EKar) (Entered:
12/19/2019)

02/12/2020

TRIAL SCHEDULING ORDER: Final Pretrial Conference set for
3/19/2020 at 02:00 PM before District Judge Laurie J. Michelson
and Jury Trial set for 4/6/2020 at 08:30 AM before District Judge
Laurie J. Michelson. Signed by District Judge Laurie J. Michelson.
(Refer to image for additional dates) (EKar) (Entered: 02/12/2020)

02/12/2020

TEXT-ONLY CERTIFICATE OF SERVICE re 129 Trial Scheduling

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Order, on Jeffrey Rainforth at 1714 H. St., Apt. 8, Sacramento, CA

95811. (EKar) (Entered: 02/12/2020)

02/26/2020

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MOTION to Dismiss Defendant Jeffrey Rainforth Only by All
Plaintiffs. (Sommerman, Andrew) (Entered: 02/26/2020)

02/28/2020

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ORDER Granting 130 MOTION to Dismiss Defendant Jeffrey
Rainforth Only. Signed by District Judge Laurie J. Michelson. (EKar)
(Entered: 02/28/2020)

02/28/2020

TEXT-ONLY CERTIFICATE OF SERVICE re 131 Order granting
motion on Jeffrey Rainforth at1714 H. St., Apt. 8, Sacramento, CA
95811. (EKar) (Entered: 02/28/2020)

03/24/2020

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NOTICE TO APPEAR BY TELEPHONE: Status Conference set for
4/14/2020 at 10:00 AM before District Judge Laurie J. Michelson.
(EKar) (Entered: 03/24/2020)

04/14/2020

Minute Entry for proceedings before District Judge Laurie J.
Michelson: Telephonic Status Conference held on 4/14/2020.
Plaintiff's counsel provided an update on the Got News bankruptcy
and no one appeared for Got News.(Court Reporter: None Present, Not
on the Record) (EKar) (Entered: 04/14/2020)

09/22/2020

TEXT-ONLY ORDER: Counsel for Plaintiffs are to docket a report on
the status of this case. The report shall (1) describe the status of Got
News' bankruptcy proceeding, (2) list all the defendants in this case,
and, for each defendant, his, her, or its status (e.g., clerks entry of
default, dismissed, in settlement discussions, etc.), (3) Plaintiffs’ plan
for resolving their claims against any defendant that remains in the
case (dispositive motion, default judgment, dismissal, settlement, etc.).
The report is due on or before October 30, 2020. Issued by District
Judge Laurie J. Michelson. (EKar) (Entered: 09/22/2020)

10/29/2020

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Status REPORT by All Plaintiffs (Sommerman, Andrew) (Entered:
10/29/2020)

11/04/2020

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ORDER Setting Schedule. Signed by District Judge Laurie J.
Michelson. (EKar) (Entered: 11/04/2020)

05/14/2021

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ORDER for Plaintiffs to Show Cause Why Case Should Not Be
Dismissed. Show Cause Response due by 5/21/2021 Signed by
District Judge Laurie J. Michelson. (EPar) (Entered: 05/14/2021)

05/18/2021

TEXT-ONLY CERTIFICATE OF SERVICE re 135 Order to Show
Cause on Got News, LLC mailed to Got News, LLC at 5812 Temple

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City Blvd., Suite 402, Temple City, CA 91780-2112. (EPar) (Entered:
05/18/2021)

05/20/2021 | 136 | RESPONSE TO ORDER TO SHOW CAUSE by All Plaintiffs.
(Sommerman, Andrew) (Entered: 05/20/2021)
05/27/2021 | 137 | NOTICE of Voluntary Dismissal by All Plaintiffs as to (1) Freedom

Daily L.L.C., (2) David Petersen, (3) Jonathan Spiel, (4) Shirley
Husar, (5) Eduardo Doitteau, (6) James Christopher Hastey, and (7)
Connie Comeaux ONLY (Attachments: # 1 Proposed Order on Notice
of Dismissal) (Sommerman, Andrew) (Entered: 05/27/2021)

05/28/2021 | 1

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ORDER on 137 Notice of Voluntary Dismissal as to Freedom Daily,
LLC, James Christopher Hastey, Shirley Husar, David Petersen,
Jonathan Spiel, Connie Comeaux and Eduardo Doitteau. Signed by
District Judge Laurie J. Michelson. (EPar) (Entered: 05/28/2021)

05/28/2021 | 13

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ORDER Administratively Closing Case. Signed by District Judge
Laurie J. Michelson. (EPar) (Entered: 05/28/2021)

PACER Service Center

Transaction Receipt
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